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VIA EMAIL TO CLERK

February 21, 2025

The Honorable Maryellen Noreika
J. Caleb Boggs Federal Building
844 N. King Street

Unit 19, Room 4324

Wilmington, DE 19801

Re: Request for unsealing of four documents in the judicial record in USA y. Biden (23-cr-61-MN)

Dear Judge Noreika:

As a member of the public and the press, and a broadcaster here in Delaware, I respectfully ask
the Court to unseal the search warrant applications and affidavits corresponding to the warrants this Court
unsealed by oral order on January 26, 2024. See ECF No. 77.

As the Court is no doubt aware, this case received significant public attention before, during, and
after the June 2024 trial. On January 25, 2024, blogger Marcy Wheeler submitted a request to unseal the
relevant warrants. See ECF No. 73. This request was unopposed by both Robert Hunter Biden, the
defendant, and the Government. See ECF Nos. 75, 76. The warrants were unsealed on January 25, 2014.
See ECF No. 88. However, both the Government and the defendant opposed unsealing the affidavits
supporting the warrants. See ECF Nos. 75, 76. Although then-President Biden repeatedly stated that he
would not issue a pardon, the defendant was indeed granted a pardon on December 1, 2024. See Executive

Grant of Clemency, (Dec. 1, 2024), https://www.justice.gov/d9/2024-12/biden warrant.pdf (last visited

Feb. 20, 2025). The presidential pardon covers all offenses which the defendant “committed or may have

committed or taken part in from January 1, 2014, through December 1, 2024[.]”
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I respectfully request that the Court issue an order unsealing the applications and affidavits for the

search warrants that inform this case. Specifically, I request that the Court unseal the following:

Case No. Date Docket No. | Description

1:19-mj-00234 | 08/29/2019 3 APPLICATION AND AFFIDAVIT FOR SEARCH
WARRANT by IRS CI Special Agent, sworn to before
the Honorable Judge Sherry R. Fallon as to Sealed
Email Address. (ceg) (Entered: 08/30/2019)

1:19-mj-00309 | 12/13/2019 Z APPLICATION AND AFFIDAVIT FOR SEARCH
WARRANT by IRS Special Agent, sworn to before the
Honorable Judge Sherry R. Fallon as to Sealed Laptop
Computer. (kjk) (Entered: 12/13/2019)

1:20-mj-00165 | 07/10/2020 2 APPLICATION AND AFFIDAVIT FOR SEARCH
WARRANT by IRS Agent, sworn to before the
Honorable Judge Sherry R. Fallon as to Sealed iCloud
Account. (lih) (Entered: 07/10/2020)

APPLICATION AND AFFIDAVIT FOR SEARCH
WARRANT by FBI Special Agent, confirmed and
sworn to via telephone before the Honorable Judge
Christopher J. Burke as to Sealed Electronic Devices.
(kjk) (Entered: 12/05/2023)

No

1:23-mj-00507 | 12/04/2023

The American public and the press have a presumptive right to inspect the search warrant materials
under the common law. In the Third Circuit, the common law right of access attaches to judicial
proceedings and records in both civil and criminal cases. See In re Avandia Mktg., Sales Pracs. & Prod.
Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019). This includes the right to “inspect and copy public records
and documents, including judicial records and documents.’” /d. (quoting In re Cendant Corp., 260 F.3d
183, 192 (3d Cir. 2001)). The right of access depends on whether a record is a judicial record, that is
“whether a document has been filed with the court, or otherwise somehow incorporated or integrated into
a district court’s adjudicatory proceedings.” Jn re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001). The
presumption of public access to judicial records “promotes public confidence in the judicial system by
enhancing testimonial trustworthiness and the quality of justice dispensed by the court.” Littlejohn v. BIC

Corp., 851 F.2d 673, 678 (3d Cir. 1988). The strong presumption of public access may be overcome only

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by the party resisting disclosure showing that “the interest in secrecy outweighs the presumption.” Bank
of Am. Nat. Tr. & Sav. Ass’n v. Hotel Rittenhouse Assocs., 800 F.2d 339, 344 (3d Cir. 1986).

Search warrant applications and supporting affidavits are judicial records “‘filed with the court, or
otherwise somehow incorporated or integrated into a district court’s adjudicatory proceedings.” Jn re
Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001). Federal Rule of Criminal Procedure 41(d) requires a
magistrate to issue a warrant only if there is probable cause to do so. The search warrant applications and
supporting affidavits are naturally determinative to the issuance of a warrant. A court in this District has
found search warrant applications and affidavits to be judicial materials, albeit without analysis. Matter
of Search of 1993 Jeep Grand Cherokee, License No. PC69059 (Del.), VIN 1J4GZ78Y3PC563912,
Registered to Ist PA Consumer Servs. Inc., 958 F. Supp. 205, 206 (D. Del. 1996).

The District Court in United States v. Gonzalez provides a summary of materials which the Third
Circuit have found subject to the common law right of access, including:

copies of video and audio tapes admitted into evidence and played to the jury during a

criminal trial, for the purpose of later rebroadcasting the same to the public; suppression,

entrapment and due process hearings; transcripts of certain tapes admitted into evidence,

when the transcripts were not themselves admitted into evidence, bills of particulars;

transcripts of sidebar and in-chambers conferences at which evidentiary or other

substantive rulings have been made; post-trial hearings to investigate juror misconduct;

and transcripts of voir dire proceedings from which the press excluded itself at the request

of the presiding judge.

Gonzalez, 927 F. Supp. 768, 773 (D. Del. 1996) (citations omitted.)

Given that the records at issue here are judicial records, there is a strong presumption of public
access. The party challenging disclosure bears the burden of rebutting that presumption. United States v.
Smuth, 787 F.2d 111, 115 (3d Cir. 1986). The Third Circuit has considered the privacy interests of third
parties as a counter-vailing interest if disclosure would cause serious harm to those third parties. United

States v. Criden, 681 F.2d 919, 922 (3d Cir. 1982). The Gonzalez Court also considered potential

interference in an investigation but ultimately found it to be unpersuasive on the facts of the case,

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particularly that most of the investigation had already been completed. Gonzalez, 927 F.Supp. at 779.
Neither of those factors favor continued sealing of the records in issue here—there is no apparent
possibility that this specific investigation will be harmed (given the unprecedented depth and breadth of
the presidential pardon), or third-party privacy interested impacted as the case has already gone to trial,
the jury has rendered a verdict, and the defendant has already received a pardon.

For the foregoing reasons, I respectfully ask the Court to unseal the search warrant applications
and affidavits listed above without redactions. I have had no contact with the defendant or his counsel, or
the Government, about this request. If you have questions, please contact me at +1-631-431-7158 or

delmarvasanchorman@protonmailcom. Lastly, I ask that this request be placed onto the public docket.

Respectfully submitted,

i J
Jake Smith

cc via email: Counsel of Record

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